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July 11, 2011

VIA E-MAIL

Robert J. Lack, Esq.
Friedman Kaplan Seiler & Adelman LLP
One Gateway Center, 25th Floor
Newark, NJ 07102

                  Re:   Deutsche Bank Trust Company Americas, et al. v. Merrill
                        Lynch Trust Company, a division of Bank of America,
                        N.A., et al.
                        Case No. 11-3148 (WJM) (JAD)

Dear Robert:

        We write regarding your Notice of Motion to Stay (“Motion”) [D.I. 14] filed in the above
referenced action (the “Action”) pending before the United States District Court for the District
of New Jersey (the “New Jersey Court”). We believe that the Motion violates the Bankruptcy
Court’s April 25, 2011 Order in In re Tribune Co., No. 08-13141 (KJC) (the “SLCFC Order”)
which (a) requires that litigation commenced in actions such as the Action shall be stayed
pending further order of the Bankruptcy Court and (b) directs that any application made by
plaintiffs for a stay must be in accordance with the SLCFC Order. Specifically, the SLCFC
Order provides:

        Absent further order of this Court, litigation commenced by the filing of any
        complaint...shall automatically be stayed in the applicable state court(s) where
        such complaint(s) are filed, or if not automatic in such state court(s), then
        application for the stay in accordance with the provisions of this Order shall
        be made by the Original Plaintiff Group or any other creditor that files its own
        complaint...

SLCFC Order, ¶ 6 (emphasis added).

       Your Motion, however, does not request a stay pending further order of the Bankruptcy
Court, as required. Instead, the Motion seeks a stay of defendants’ time to answer or otherwise
respond to the complaint until the earliest of (a) October 31, 2011, (b) an order by the
Bankruptcy Court confirming a plan of reorganization, or (c) further order of the Bankruptcy
Court or the New Jersey Court. See Notice of Motion, ¶ 1. As you are aware, neither (a) nor (b)

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Robert J. Lack                              -2-                                 July 11, 2011

are provided for in, or permitted by, the SLCFC Order. Additionally, pursuant to the SCLFC
Order, (c) should be limited to an order of the Bankruptcy Court.

        Accordingly, we ask that you advise us in writing by 5:00 p.m. tomorrow as to whether
you will amend the Motion (and the Proposed Order related thereto) to request that defendants’
time to answer or otherwise respond to the complaint in this Action be stayed solely “pending
further order of the Bankruptcy Court.” Absent your agreement to do so, we intend to seek an
emergency hearing before the Bankruptcy Court regarding your violation of the SLCFC Order.



                                                  Sincerely,

                                                  /s/ Madlyn Gleich Primoff

                                                  Madlyn Gleich Primoff


CC: Amy C. Brown, Esq.
    Ricardo Solano Jr., Esq.
    Timothy M. Haggerty, Esq.
    Jane W. Parver, Esq.
    Daniel Boglioli, Esq.




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